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ADMITTED IN DC AND MD

OF COUNSEL
AMY E.WEEDMAN '

 

Date |nvoice #
11/09/2015 828 Revised

 

 

 

 

 

 

Bi|| To

Worley, et al. v. Islamic Republic of Iran, et al.
Case No.: 1 : lZ-cv-02069

United States District Court

for the District of Columbia

REVISED

 

 

 

 

 

Activity ` Hours Amount

 

01/15/2015

~ Review complainant tiles provided by plaintiffs' counsel - Baker, 2.4 600.00
Mincer and Elliott. Prepare inventory of documents included in same

01/19/2015

* Review docket and court filings; begin preparation of procedural 4.6 1,200.00
history; review multiple motions for default judgment; review motion for v
leave to amend complaint

01/21/2015
* Continued preparation of procedural history section of report l.3 600.00

01/27/2015

' Finalize procedural history section of report and review recent caselaw 4.4 ` 1,200.00
re damage assessments in FSIA cases and incorporate same into analysis
section of report

02/07/2015

* Review claimant information provided by plaintiffs' counsel and begin 3 .2 _ 600.00
preparation of memo re information necessary for estates of claimants;
review C Dowden memo re same

03/05/2015

* Review complainant files provided by counsel -' Brown, Vasquez, 2.1 _ 600.00
Edwards, Worley; update inventory re same

03/18/2015

' Preparation of Edwards report; review file for documents for various l.l 600.()()
estates; prepare email re deficiencies re same

Continue to the next page

 

 

 

 

 

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West; revise l\/[aster Inventory re same noting in particular any
discrepancies or filings made in other cases

04/26/2015

Continue to the next page

 

l.6

 

Activity Hours Amount
03/20/20_15
, - Preparation of Edwards report - review testimony of Gary Edwards and 2.3 600.00
J ames Edwards re same
03/21/2015 _
- Review testimony of Ralph Edwards and prepare Edwards report re 1.3 600.00
same
03/23/2015
° Review testimony of Ray Edwards and Betty Rowe; prepare report re 4.9 l,200.00
same; review prior.Beirut bombing cases re circumstances where
solatium rewards received downward departures; prepare section of
report re same; revise sections of report re testimony of siblings
03/24/2015
' Finalize Edwards report l.9 600.00
04/01/2015
_ - Review affidavits and witness testimony regarding Worley claimant; 4.5 1,2()0.00
begin drafting report
04/04/2015
* Continued drafting Worley report - review testimony of sons David and 5.1 1,200.00
Bryan
04/07/2015 c _ _
* Review and revise Worley report - particularly section of Nancy l.2 600.00
Worley
04/08/2015 _
' Review and revise Worley report 2.3 600.00
04/25/2015 _
' Receive and review new claimant files - Buckmaster, Hamilton and 600.00

 

 

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Activity Hours n Amount

 

~ Review Hamilton family documents; review previously filed special 2.2 f - 600.0()
master report for Virgel Hamilton brought in Brown v. Iran; begin
preparation of report re same

 

04/28/2015 __ . _ _ `
* Review Freda Gayheart testimony in Hamilton case and sister Ramona; 1.4 ` 600.00
continued preparation of report re same '

04/29/2015

' Continued preparation of I-Iamilton report with Ramona's testimony l.2 600.00
04/30/2015 _ f

' Review testimony of Robert Hamilton; continued preparation of report 4.7 1,200.00

re same; finalize Hamilton report

_ 05/02/2015

° Review Buckmaster family documents; begin preparation of report re 2.3 600.00
same - testimony of Gregg Buckmaster `

05/04/2015
~ Continued preparation of Buckmaster report - Gary Buckmanster _ 4..6 1,200.00

l 05/09/2015

* Preparation of Buckmaster report - Vicki Buckmaster; review all 4.5 l 1,200.00
testimony to elicit any information regarding parents reaction

05/15/2015

'* Begin preparation of report for Danny son of deceased Marine LLoyd 2.2 - 600.00
Dennis West; review Special l\/Iaster report filed in previous related case

- Bland v Iran; teleconference w C Dowden re submission of amended
complaint (05/12)

05/18/2015

' Review testimony of Danny West; continued preparation of report re 3.3 ' 600.00
same; finalize '

06/07/2015

Continue to the next page

 

 

 

 

 

 

 

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Activity Hours Amount

 

* Review current claimant information provided against proposed 4.4 l,200.00
amended complaint (May)_; preparation of list of information necessary to
complete review of claimants already involved in case; those that counsel
wants to dismiss but whose reports are completed; those they counsel
wants to dismiss but need additional inforrnation; review Dowden memo
and 12/08/ 14 court order for additional information necessary to
complete review '

06/08/2015
' Draft email to counsel concerning finality of amended complaints and 1.8` 600.00
draft punch list; review current information packets and inventory re
smne
06/11/2015
* Review chart of "due-outs" provided by plaintiffs counsel; update 1.2 600.00

inventory list re same

07/15/2015 _

' Review Morrow family documents and affidavit filed re opening an 4.4 l,200.00
estate for deceased Marine Richard Morrow; review Patricia Ulakovich
(mother) testimony and prepare report re same

* Revrew 07/ 07 proposed amended complaint and compare to previous " l.4 600.00

amendments and original; update inventory chart making note of missing
information; review counsel affidavit re opening estates in preparation for
meeting with counsel

07/21/2015
' Meeting w/ counsel Fay re update on amended complaint and 4..1 1,200.00

documents needed to complete reports ; review Bova complaint, amended

complaint and prepare new chart detailing information still needed to
complete reports

07/28/2015

Continue to the next page

 

 

 

 

 

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Activity

Hours

Amount

 

 

- Teleconference with counsel to discuss status of Worley and Bova
_ claimants; review inventory chart and make updated per conversation;
update chart of individual claimants and documents still outstanding and

forward a copy of affidavit regarding state law applicable to estate claims '

provided in another bombing case as an example

07/29/2015 _

_ * Review and revise affidavit of Caragh Fay; email exchanges w counsel
re same

08/12/2015

' Review Chipura family documents; begin preparation of Chipura report
re testimony of Nancy and Gerard; draft email requesting estate
documents for J and A Buckmaster; R Hamilton; J Chipura and R

Morrow; confer with counsel re same

08/14/2015

~ Continued preparation of Chipura report re testimony of Eileen and
Susan '

08/16/2015

~~ Review of all Chipura testimony for information on reaction of
deceased parents re son John's survival of the Beirut bombing; continued
preparation of report re same

08/17/2015
' Fi_nalize Chipura report

08/18/2015

' ' Review l\/[arioo Vasquez claimant file and begin preparation of report -
Mario testimony

08/20/2015

~ Preparation of Vasquez report - review medical records and incorporate
information into report; begin review father's testimony `

08/22/2015

* Continued review of Vasquez family testimony - review of wife, and
half-siblings ` `

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Activity ` Hours 1 Amount
08/29/2015 _
* Finalize Vasquez report -- » l.2 600.00
09/01/2015
* Review Jef`frey Dadich testimony and begin Dadich report 4.5 , l,200.00
09/06/2015
' Continued preparation of Dadich report; emails with counsel re l.3 ` ` 600.00

submission of outstanding documents

09/08/2015
~ Finalize Dadich report _ 5.2 1,200.00

09/21/2015

' Teleconference w C. Fay and l\/I. Knox re update and schedule of final 0..5 600.0()
submissions; draft confirmatory email '

09/22/2015
* Final review and revision of all reports; file reports with court 5.7 1,200.00

09/30/2015

' Draft letter to counsel re amended complaint and claim of A 0.4 600.00
Buckmaster `

10/01/2015

* Telephone interview with Mary Ann Edwards re claim for Estate of 2.7 600.00
Larry Edwards; prepare and send affidavit re same

10/03/2015 -

' Prep`are supplemental reports for Edwards and Buckmaster; file reports 3.3 600.00
re same ' “

 

 

 

 

 

 

 

Tota| $40,800.00

